 Case 5:21-cr-50014-TLB Document 16               Filed 05/01/21 Page 1 of 2 PageID #: 33




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )     Case No. 5:21-CR-50014-001
v.                                            )
                                              )
JOSHUA JAMES DUGGAR,                          )
                                              )
       Defendant.                             )

                                ENTRY OF APPEARANCE

       COMES NOW Justin K. Gelfand and the law firm of Margulis Gelfand, LLC, and hereby

enters his appearance on behalf of the above-named defendant.

                                           Respectfully submitted,

                                           Margulis Gelfand, LLC


                                            /s/ Justin K. Gelfand
                                           JUSTIN K. GELFAND, #62265
                                           7700 Bonhomme Ave., Ste. 750
                                           St. Louis, MO 63105
                                           Telephone: 314.390.0234
                                           Facsimile: 314.485.2264
                                           justin@margulisgelfand.com
                                           ATTORNEY FOR DEFENDANT
Case 5:21-cr-50014-TLB Document 16                  Filed 05/01/21 Page 2 of 2 PageID #: 34




                                     Certificate of Service

      I hereby certify that the foregoing was filed electronically with the Clerk of the Court to

be served by operation of the Court’s electronic filing system upon the Office of the United States

Attorney.




                                              /s/ Justin K. Gelfand
                                             JUSTIN K. GELFAND, #62265
                                             7700 Bonhomme Ave., Ste. 750
                                             St. Louis, MO 63105
                                             Telephone: 314.390.0234
                                             Facsimile: 314.485.2264
                                             justin@margulisgelfand.com
                                             ATTORNEY FOR DEFENDANT




                                                2
